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GEORGIA M. PESTANA                            THE CITY OF NEW YORK                                       DARA L. WEISS
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        By ECF                                                                       January 10, 2022
        Honorable Gabriel W. Gorenstein
        United States Magistrate Judge
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                In Re: New York City Policing During Summer 2020 Demonstrations,
                       No. 20 Civ. 8924 (CM) (GWG)

        Your Honor:

                I am a Senior Counsel in the Office of Georgia M. Pestana, Acting Corporation Counsel of
        the City of New York and I am among counsel for the defense in the above-referenced matter. I
        write in accordance with Rule 2.A of the Court’s Individual Practices to respectfully advise the
        Court, that without objection from counsel for the plaintiffs, Defendants will be submitting a letter
        in opposition to their January 6, 2022 Letter Motion for Local Rule 37.2 Conference (Dkt. # 341)
        on Wednesday, January 12, 2022. Defendants require two additional days to respond to plaintiffs’
        letter due to absences because of illnesses on our team.

                Thank you for your consideration herein.




                                                              Respectfully submitted,

                                                              Dara L. Weiss s/
                                                              Dara Weiss
                                                              Senior Counsel
                                                              Special Federal Litigation Division



                cc:    ALL COUNSEL (via ECF only)
